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David P. Gardner
trustee@winstoncashatt.com
250 Northwest Blvd., Ste 206
Coeur d'Alene, ID 83814
(208) 667-2103
Chapter 7 Trustee

                          UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF IDAHO

 In Re:                                               Case No. 20-20617-NGH

 QUINN, KAY L.                                        Chapter 7
 QUINN, MICHAEL J.,

                                       Debtor(s).

                  Notice of Motion for Order Approving Sale of Real Property
                          and Opportunity to Object and for a Hearing

 No Objection. The Court may consider this request for an order without further notice or
 hearing unless a party in interest files an objection within twenty-one [21] days of the date of
 this notice. File the original objection with the Clerk, U. S. Bankruptcy Court, Federal
 Building, 6450 N. Mineral Dr., Coeur d’Alene, ID 83815 and provide a copy to David P.
 Gardner, Trustee.

 If an objection is not filed within the time permitted, the Court may consider that there is no
 opposition to the granting of the requested relief and may grant the relief without further
 notice or hearing.

 Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy
 of the objection shall be served on the movant.

 Hearing on Objection. The objecting party shall also contact the Court's calendar clerk to
 schedule a hearing on the objection and file a separate notice of hearing.

          Chapter 7 Trustee David P. Gardner (“Trustee”), pursuant to §363 of the Bankruptcy

code, FRBP 2002(a) and 6004, and 6004, and LBR 2002.1, seeks approval to sell the real

property located at 5151 E Inverness Drive, Post Falls, Idaho 83854 (“Property”). In support of

his request the Trustee submits the following information, under penalty of perjury.



MOTION FOR ORDER APPROVING SALE OF REAL PROPERTY
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PLEASE TAKE NOTICE THAT the undersigned Trustee will sell the below described
property of the above-entitled estate pursuant to 11 U.S.C. §363, FRBP 6004(e), and LBR
2002.1.
1.    Description of Property to be Sold: The real property commonly known as 5151 E
Inverness Drive, Post Falls, Idaho 83854.
2.      Time and Place of Sale: This sale will be final unless an objection is filed and served as
set forth in the above-Notice on or before November 19, 2021.
3.     Type of Sale: Private sale to Michael and Quinn Kay (“Buyers”). Buyers are the
Debtors in this bankruptcy case.
4.      Terms of Sale: The sale price is $737,000.00. Buyers will pay $230,000.00 cash upon
entry of an order of the court approving this sale. There will be no closing or transfer of title to
the Property, and all liens will remain with the Property after sale.
5.     Treatment of Existing Liens:

       ( ) Sale free and clear of all liens with all valid liens attaching to sale proceeds.
       ( ) Trustee knows of no valid liens claimed against the Property.
       ( ) Trustee may immediately pay liens listed below without further notice and hearing.
       (X) The following liens will remain with the Property after the sale:

       Freedom Mortgage (approx.):             $332,499.27
6.     Value of Property to be Sold:
The Trustee estimates that the fair market value of the Property is $750,000.00, based upon:
       ( ) Blue book values of the assets less liens and exemptions.
       ( ) An appraisal by:
       (X) Other: The Property has been marketed and listed by a realtor on the MLS, multiple
       offers have been obtained.
7.     Proposed Disposition of the Proceeds of the Sale:
Pending court approval, the following proceeds of sale will be distributed as follows, without
further notice or hearing:
       Sale Price:                             $230,000.00
       Professional Compensation:              $ 44,220.00 (application pending)
       Remainder to Estate:                    $185,780.00
8.     Authority for Conducting the Sale:

       ( ) 11 USC §363(f)(1)
       ( ) 11 USC §363(f)(2)
       ( ) 11 USC §363(f)(3)

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       ( ) 11 USC §363(f)(4)
       ( ) 11 USC §363(f)(5)
       (X) Other: 11 USC §363(b)(1)
9.      Objections to This Notice of Sale: This sale will take place unless a written objection and
request for hearing is received by the Clerk of the U.S. Bankruptcy Court and the Chapter 7 Trustee
(whose addresses are above) on or before November 19, 2021.
10.   Miscellaneous Information: This sale shall be effective immediately and the 14-day stay
imposed by FRBP 6004(h) and other rules are hereby waived.
11.    Additional Terms of Sale: The Property is sold AS-IS-WHERE-IS, without warranty of
any nature whatsoever, either express or implied.
12.    Request for Entry of Order: The Trustee requests that an order be entered authorizing
and approving this sale as the Buyers have agreed to pay the proceeds of sale only upon entry of
such an order.

DATE: October 26, 2021


                                             /s/ David P. Gardner
                                             David P. Gardner, Trustee




MOTION FOR ORDER APPROVING SALE OF REAL PROPERTY
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